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                                IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

Percy Coleman, Administrator for the                          )
Estate of Philip Coleman                                      )
                                                              )     Case No.: 12 cv 10061
         Plaintiff,                                           )
                                                              )     JUDGE KENNELLY
                   v.                                         )
                                                              )
The City of Chicago, Chicago Police                           )
Lieutenants Michael Rigoli, Star No. 235,                     )
Carlos Mostek, Star No. 196, and Michael                      )
Casey, Star No. 191, Chicago Police                           )
Sergeants Sean Tully, Star No. 1090,                          )
William Meador, Star No. 1003, and                            )
Tommy Walker, Star No. 2328, and                              )
Chicago Police Officers Cordy Fouch, Star                     )
No. 19814, Mark Jones, Star No. 10390,                        )
David Montgomery, Star No. 10651, Brian                       )
Hood, Star No. 10598, Reginald T.
Malone, Star No. 17484, Detention Aide
Keith Kirkland, Lee Caldwell, Star No.
16925, and Charita Edwards, Star No.
10095.

         Defendants.

                              PLAINTIFF’S LOCAL RULE 56.1 STATEMENT

                                   OF UNCONTESTED MATERIAL FACTS



           1.         This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343, 1331, and 1367. (Ex. A, ¶1)1

           2.         Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district. (Ex. A, ¶2)


1
    All citations refer to the exhibits included in plaintiff’s Appendix of Exhibits.
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       3.      At all times herein mentioned, Chicago Police Detention Aide Keith

Kirkland,(“Kirkland”) and Sergeant Tommy Walker (“Sgt.Walker”)were employed by the

Chicago Police Department, and was acting under color of state law and as the employee, agent

or representative of the Chicago Police Department. (Ex. A, ¶¶8,15 )

       4.      Keith Kirkland (“Kirkland”) has been a Detention Aide employed by the Chicago

Police Department for more than 22 years. (Ex B, pg. 5)

       5.      On December, 12, 2012, Philip Coleman was arrested and transported to the

Chicago Police Department’s 5th District police station. (Ex. A, ¶23)

       6.      Sgt. Walker was the Chicago Police Department’s 5th District Station Supervisor

on December 13, 2012 (Ex. C, pg. 15-16)

       7.      Walker gave the initial order for Philip Coleman to be tasered inside a cell at the

Chicago Police Department’s 5th District lockup after Philip Coleman allegedly failed to comply

with verbal commands. (Ex. C, pg. 31)

       8.      After Philip Coleman was tasered inside his lockup cell he was handcuffed behind

his back, and leg shackles were placed on his legs. (Ex. C, pg. 39)


       9.      Kirkland made the decision to drag Philip Coleman out of the lockup cell along

the floor by his handcuffs. (Ex. C, pg. 43)

       10.     Philip Coleman was pulled by his cuffs out of the cell, and along the floor of a

hallway. (Ex. C, pg. 41-42)


       11.     Philip Coleman did not offer any resistance while he was being dragged along the

floor by handcuffs. (Ex. C, pg. 41)
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          12.   Kirkland testified that he dragged Philip Coleman along the floor by the handcuffs

because he believed it was safer than giving him an opportunity to stand up and walk out of the

cell. (Ex. B, pg. 40)


          13.   Kirkland described how he dragged Philip Coleman along the floor as follows:

                Q: And can you describe how you did that

                A: I grabbed the cuffs and pulled him out.

                Q: Okay. So when you say you grabbed the cuffs, are you referring to the chain
                   between each cuff?

                A: Yes.

     (Ex. B, pg. 41)

          14.   Kirkland had never been trained that it was appropriate to move an arrestee by

grabbing their handcuffs and pulling them along the floor. (Ex. B, pg. 42)

          15.   It was possible for paramedics to treat Philip Coleman in his cell after he was

tasered. (Ex. C, pg. 43-44)


          16.   Walker testified that rather than dragging Philip along the floor he could have

been stood up and walked to a different area of the lockup, or he could have been carried. (Ex. C,

pg. 44)


          17.   Tonya Pye is a police officer that has employed by the Chicago Police

Department for more than 23 years. (Ex. D, pg. 4, 6)


          18.   Tonya Pye was produced by the City of Chicago in response to a Rule 30(b)(6)

notice of deposition regarding the Chicago Police Department’s training, policies, and practices

as they pertain to Detention Aides. (Ex. D, pg. 5-6)
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         19.      Tonya Pye testified that she has never received training that it is within policy or

procedure to pull an arrestee along the floor by their handcuffs. (Ex. D, pg. 74-75)


         20.      During her deposition Tonya Pye reviewed “screen shots” from a portion of

Chicago Police Department video that shows Kirkland dragging Philip Coleman along the floor

by his handcuffs. (Ex. D, pg. 78-81)


         21.      Tonya Pye testified that she has never previously seen an incident where an

individual was lying on the floor in the lock up and they were pulled along the floor by their

handcuffs. (Ex. D, pg. 81)


         22.      The Chicago Police Department trains its personnel that improper use of

handcuffs can injure a person in handcuffs. (Ex. D, pg. 81)


         23.      The defendants have disclosed Jeffrey Noble as a police expert in this matter. Mr.

Noble testified that it was inappropriate for Kirkland to drag Philip Coleman along the floor by

the handcuffs (Ex. H, Jeffrey Noble deposition)2

         24.      A video recording of plaintiff’s lockup cell shows Philip Coleman being tasered,

and then dragged from his lockup cell by Kirkland. (Ex. F, Video file labeled “Camera 7 cell I”

at 7:26 a.m. through 7:29 a.m.)3


         25.      A video recording shows Kirkland dragging Philip Coleman by the handcuffs

along the floor of a lengthy hallway. (Ex. G, Video file labeled “Camera c31 3 5” at 7:29 a.m.)

2
  Mr. Noble’s deposition was taken on September 25, 2015, and his deposition transcript is not currently available.
Plaintiff will seek leave to supplement the record with the relevant portions of this transcript when it is available.
3
  The video file exhibits are currently designated as confidential. The Court previously denied, without prejudice,
plaintiff’s motion to remove this designation. Plaintiff will file a new motion to renew plaintiff’s designation and
supplement the record with a copy of the referenced video files.
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       26.     Sgt. Walker was present the entire time that Kirkland was dragging Philip

Coleman by the handcuffs. (Ex. C, pg. 42) Sgt. Walker admits that this occurred under his direct

supervision and he watched Kirkland engage in this conduct the entire time that it occurred. (Ex.

C, pg. 42, 115, 117) Sgt. Walker admits that he could have ordered Kirkland to stop dragging

Philip Coleman by the handcuffs.

       27.     Dr. Ponni Arunkumar, is an Assistant Medical Examiner at the Cook County

Medical Examiner’s office in Cook County, Illinois. (Ex. E, pg. 7) Dr. Arunkumar performed

the postmortem examination of Philip Coleman. (Ex. E, pg. 8) Photographs taken during the

postmortem examination of Philip Coleman’s autopsy depict injuries to Philip Coleman’s wrists

that could have been caused by handcuffs. (Ex. E, pg. 76-77)




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